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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                              (Joint Administration Requested)
                           Debtors.


                                 AGENDA FOR FIRST DAY HEARING
                                 AND INDEX OF FIRST DAY PAPERS2

PETITIONS

1.       Voluntary Petitions

         a.       Delaware BSA, LLC – Case No. 20-10342 (LSS)
         b.       Boy Scouts of America – Case No. 20-1343 (LSS)

INFORMATIONAL BRIEF

2.       Debtors’ Informational Brief (D.I. 4, Filed 2/18/20)

DECLARATION IN SUPPORT OF FIRST DAY PLEADINGS

3.       Declaration of Brian Whittman in Support of the Debtors’ Chapter 11 Petitions and First
         Day Pleadings (D.I. 16, Filed 2/18/20).

MATTERS GOING FORWARD

4.       Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of Chapter 11
         Cases and (II) Granting Related Relief (D.I. 3, Filed 2/18/20).

         Status: This matter is going forward.


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     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
     Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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     Upon receiving the date and time of the first day hearing (the “First Day Hearing”) from chambers, the above-
     captioned debtors and debtors in possession will file and serve a notice of the First Day Hearing in accordance
     with Rule 9013-1(m)(iii) of the Local Rules of Bankruptcy Practice and Procedure of the United States
     Bankruptcy Court for the District of Delaware. All motions and other pleadings referenced herein are available
     online at the following address: http:// www.officialbsaclaims.com.
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5.    Debtors’ Motion for Interim and Final Orders (I) Authorizing the Debtors to Utilize Cash
      Collateral Pursuant to 11 U.S.C. § 363; (II) Granting Adequate Protection to the
      Prepetition Secured Party Pursuant to 11 U.S.C. §§ 105(a), 361, 362, 363 and 507; (III)
      Scheduling a Final Hearing Pursuant to Bankruptcy Rule 4001(b); and (IV) Granting
      Related Relief (D.I. 5, Filed 2/18/20).

      Status: This matter is going forward.

6.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment of
      Certain Taxes and (II) Granting Related Relief (D.I. 6, Filed 2/18/20).

      Status: This matter is going forward.

7.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to Pay
      Certain Prepetition Claims of Essential Vendors, Foreign Vendors, Shippers,
      Warehousemen, Other Lien Claimants, and 503(b)(9) Vendors, and (II) Granting Related
      Relief (D.I. 7, Filed 2/18/20).

      Status: This matter is going forward.

8.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to (A)
      Maintain and Administer Prepetition Customer, Scout, and Donor Programs and Practices
      and (B) Pay and Honor Related Prepetition Obligations, and (II) Granting Related Relief
      (D.I. 8, Filed 2/18/20).

      Status: This matter is going forward.

9.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to File
      (A) a Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims
      and (B) a Consolidated List of Other Unsecured Creditors of the Debtors, (II)
      Authorizing and Approving Special Noticing and Confidentiality Procedures, (III)
      Authorizing and Approving Procedures for Providing Notice of Commencement, and
      (IV) Granting Related Relief (D.I. 9, Filed 2/18/20).

      Status: This matter is going forward.

10.   Debtors’ Motion for Entry of an Order (I) Extending Time to File (A) Schedules of
      Assets and Liabilities and Statements of Financial Affairs and (B) Rule 2015.3 Reports
      and (II) Granting Related Relief (D.I. 10, Filed 2/18/20).

      Status: This matter is going forward.

11.   Debtors’ Application for Entry of an Order Appointing Omni Agent Solutions as Claims
      and Noticing Agent, Nunc Pro Tunc to the Petition Date (D.I. 11, Filed 2/18/20).

      Status: This matter is going forward.


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12.       Debtors’ Motion for Entry of Interim and Final Orders (I) Approving the Debtors’
          Proposed Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting
          Utility Providers From Altering, Refusing, or Discontinuing Services, (III) Approving
          Procedures for Resolving Additional Adequate Assurance Requests, and (IV) Granting
          Related Relief (D.I. 12, Filed 2/18/20).

          Status: This matter is going forward.

13.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to (A)
          Continue Using Existing Cash Management System, Including Existing Bank Accounts,
          (B) Honor Certain Prepetition Obligations Related Thereto, and (C) Maintain Existing
          Business Forms; and (II) Waiving the Requirements of 11 U.S.C. § 345(b); and (III)
          Granting Related Relief (D.I. 13, Filed 2/18/20).

          Status: This matter is going forward.

14.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
          Pay Prepetition Wages, Salaries, Employee Benefits, and Other Compensation and (B)
          Maintain Employee Benefits Programs and Pay Related Administrative Obligations, (II)
          Authorizing Applicable Banks and Other Financial Institutions to Honor and Process
          Related Checks and Transfers, and (III) Granting Related Relief (D.I. 14, Filed 2/18/20).

          Status: This matter is going forward.

15.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay
          Certain Prepetition Obligations Under Shared Services Arrangements, (II) Authorizing
          Continued Performance of Obligations Under Shared Services Arrangements, and (III)
          Granting Related Relief (D.I. 15, Filed 2/18/20).

          Status: This matter is going forward.

PLAN RELATED DOCUMENTS3

16.       Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC
          (D.I. 20, Filed 2/18/20).

17.       Disclosure Statement for the Chapter 11 Plan of Reorganization for Boy Scouts of
          America and Delaware BSA, LLC (D.I. 21, Filed 2/18/20).




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      Copies of these documents have been included herein for the convenience of the Court. These matters will not
      be going forward at the first day hearing.


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ADVERSARY PROCEEDING4

18.       Document to be Kept Under Seal Adversary Verified Complaint for Injunctive Relief
          (A.D.I. 1, Filed 2/18/20).

19.       Plaintiff’s Motion for Entry of an Order Authorizing the Debtors to File Under Seal (I)
          Exhibit A to the Complaint and (II) the Griggs Declaration (A.D.I. 2, Filed 2/18/20).

20.       [SEALED] Verified Complaint for Injunctive Relief (A.D.I. 4, Filed 2/18/20).

21.       Notice of Filing of Proposed Redacted Version of Verified Complaint for Injunctive
          Relief (A.D.I. 5, Filed 2/18/20).

22.       The BSA’s Motion for a Preliminary Injunction Pursuant to Sections 105(a) and 362 of
          the Bankruptcy Code (A.D.I. 6, Filed 2/18/20).

23.       The BSA’s Opening Brief in Support of Motion for a Preliminary Injunction Pursuant to
          Sections 105(a) And 362 of the Bankruptcy Code (A.D.I. 7, Filed 2/18/20).

24.       Declaration of Brian Whittman in Support of the BSA’s Motion for a Preliminary
          Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy Code (A.D.I. 8, Filed
          2/18/20).

25.       Declaration of Adrian C. Azer in Support of the BSA’s Motion for a Preliminary
          Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy Code (A.D.I. 9, Filed
          2/18/20).

26.       [SEALED] Declaration of Bruce A. Griggs in Support of the BSA’s Motion for a
          Preliminary Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy Code
          (A.D.I. 10, Filed 2/18/20).

27.       Notice of Filing of Proposed Redacted Version of Declaration of Bruce A. Griggs in
          Support of the BSA’s Motion for a Preliminary Injunction Pursuant to Sections 105(a)
          and 362 of the Bankruptcy Code (A.D.I. 11, Filed 2/18/20).

28.       Motion for Leave to Exceed Page Limitation Requirements with Respect to the BSA’s
          Opening Brief in Support of its Motion for a Preliminary Injunction Pursuant to Sections
          105(a) and 362 of the Bankruptcy Code (A.D.I. 12, Filed 2/18/20).




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